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From:                              Stronski, James <JStronski@crowell.com>
Sent:                              Monday, January 31, 2022 4:22 PM
To:                                Mithun Mansinghani
Cc:                                Bryan Cleveland; Andy Ferguson; Zach West; Harry Cohen; M Robles; Walker, Kenton;
                                   Emma Rolls; Alex Kursman; Lynne Leonard; Dale Baich; Kim Stout; Jennifer Moreno; Li,
                                   Anne
Subject:                           RE: Issues re PTR and PTC scheduled for 2/1/22


Mithun,

Please let us know your positions on the following issues we intend to raise at tomorrow’s pre‐trial conference.

A. Pursuant to Local Rule, the default date for submission of a Joint Pre‐trial Report is tomorrow – the first day of the
month in which the trial is scheduled “[u]nless otherwise ordered by the Court.” Local Civil Rule 16(c)(1). We plan to ask
the Court to set an alternative date in view of the recent production and outstanding documents we need to evaluate to
include in the Pre‐Trial Report. Our thought is setting the date as February 14th should provide time for the State to
supplement its production and Plaintiffs to incorporate documents that exist as of that time in the report. We are open
to a shorter extension depending on when the State can supplement its production.

We have the production made last week but there are outstanding documents that we will want to consider including as
trial exhibits and to use with our witnesses, such as:

1.    Stouffer
     •    Medical Examiner Report
     •    Toxicology Report
     •    Medical Examiner photographs

2.   D. Grant Medical Examiner Report
    •    Medical Examiner Report
    •    Toxicology Report
    •    Medical Examiner photographs
    •    Execution Logs
    •    All other documents from the execution (i.e. 35‐Day Packet, medical records, after‐execution review
documents, etc.)

3.   All documentation from the execution of Postelle, if it goes forward
    •     Medical Examiner Report
    •     Toxicology Report
    •     Medical Examiner photographs
    •     Execution Logs
    •     All other documents from the execution (i.e. 35‐Day Packet, medical records, after‐execution review
documents, etc.)


B. Separately, we intend to ask the Court to order the depositions of the IV Team Leader and his or her assistant in
view of the summary nature of the answers provided to written questions. The identify of these persons may be
protected by testifying by VTC but their implementation of the protocol is highly relevant and thus they should be
produced both for a deposition and their attendance made available for trial.

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                                                                                       Ex. 3
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C. Dr. Gail Van Norman of the University of Washington, a professor of anesthesiology and a currently practicing
anesthesiologist, will review the documents on the recent executions of John Grant, Stouffer, Donald Grant, and Postelle
as they become available and we intend to call her in our case to address this new evidence. We will provide a report or
declaration of her opinions.

D. Please identify any witnesses that have observed executions for the State, whether they are generating a report or
declaration to address this new evidence and whether you intend to call them to testify as a witness at trial concerning
such executions.

Regards,

Jim


James Stronski
Crowell & Moring LLP
jstronski@crowell.com
+1.212.895.4217 direct
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                                                                                       Ex. 3
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